                                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                      Case 22-19436-RAM                 Doc 73        Filed 09/22/23      Page 1 of 3
                                                                 www.flsb.uscourts.gov
                                                     CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                  Original Plan
                                                                         Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                              ■    Second                                Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Paola Angulo                                    JOINT DEBTOR:                                        CASE NO.: 22-19436 RAM
     SS#: xxx-xx- 6519                                          SS#: xxx-xx-
     I.          NOTICES
                 To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                      modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                      Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                      the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:        Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                      be reduced, modified or eliminated.
                 To All Parties:      The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                      on each line listed below in this section to state whether the plan includes any of the following:
       The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                         Included          ■   Not included
       partial payment or no payment at all to the secured creditor
       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                         Included          ■   Not included
       out in Section III
       Nonstandard provisions, set out in Section IX                                                                     Included          ■   Not included
    II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.   $186.01               for months   1    to 9      ;

                        2.   $22,241.82            for months 10 to 10 ;

                        3.   $100.00               for months 11 to 60 ;

                B. DEBTOR(S)' ATTORNEY'S FEE:                                             NONE         PRO BONO
             Total Fees:               $9,000.00          Total Paid:              $1,500.00         Balance Due:           $7,500.00
             Payable               $0.00           /month (Months 1      to 9 )
             Payable              $7,500.00        /month (Months 10 to 10 )
             Allowed fees under LR 2016-l(B)(2) are itemized below:
             Fee application

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                             NONE
                A. SECURED CLAIMS:                    NONE
                [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
             1. Creditor: Regions Bank
                  Address: 6200 Poplar Avenue, 4th              Arrearage/ Payoff on Petition Date
                           Floor
                                                                MMM Adequate Protection                        $0.00        /month (Months     1   to 9   )
                           Memphis, TN 38119
                                                                MMM Adequate Protection                     $10,000.00      /month (Months 10      to 10 )




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                                                                            Debtor(s): Paola Angulo                                      Case number: 22-19436 RAM

         Last 4 Digits of
         Account No.:                     6140
        Other:

         ■ Real Property                                                              Check one below for Real Property:
                 ■ Principal Residence                                                 ■ Escrow is included in the regular payments

                    Other Real Property                                                      The debtor(s) will pay           taxes       insurance directly
         Address of Collateral:
         200 Biscayne Boulevard Way Unit 4702 Miami, FL 33131

             Personal Property/Vehicle
         Description of Collateral:

         2. Creditor: Miami Dade County Tax Collector
              Address: 200 NW 2 Ave.                            Arrearage/ Payoff on Petition Date      25686.49 @18% - 39,135.99
                       Miami, FL 33128
                                                                Payoff (Including 0% monthly interest)                $0.00           /month (Months   1   to 9   )

         Last 4 Digits of                                       Payoff (Including 0% monthly interest)           $2,447.63            /month (Months 10    to 10 )
         Account No.:                     0530
        Other:               POC 7 - 2022 property tax

         ■ Real Property                                                              Check one below for Real Property:
                 ■ Principal Residence                                                 ■ Escrow is included in the regular payments

                    Other Real Property                                                      The debtor(s) will pay           taxes       insurance directly
         Address of Collateral:
         200 Biscayne Boulevard Way Unit 4702 Miami, FL 33131

             Personal Property/Vehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL:                          ■     NONE
            C. LIEN AVOIDANCE                    ■   NONE
            D. SURRENDER OF COLLATERAL:                            ■    NONE
            E. DIRECT PAYMENTS                           NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                           Name of Creditor                 Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                           Epic West Condominium            4702                         200 Biscayne Boulevard Way Unit 4702 Miami, FL 33131
                        1. Association Inc
                             Regions Bank                   6140                                 200 Biscayne Boulevard Way Unit 4702 Miami, FL 33131
                        2.
                           Miami Dade County Tax            0530                                 200 Biscayne Boulevard Way Unit 4702 Miami, FL 33131
                        3. Collector

IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                                NONE
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                                     NONE




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                                                                             Debtor(s): Paola Angulo                         Case number: 22-19436 RAM

               1. Name: State of Florida Dept of Revenue
               Payment Address: PO Box 8045, Tallahassee, FL 32314

               Total Due:                   $70.00
                  Payable          $70.00     /month (Months 10 to 10 )
            B. INTERNAL REVENUE SERVICE:                         ■    NONE
            C. DOMESTIC SUPPORT OBLIGATION(S): ■ NONE
            D. OTHER:          ■    NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                                NONE
               A. Pay          $90.00           /month (Months 11           to 60 )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.        If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                     ■   NONE
VI.         STUDENT LOAN PROGRAM                        ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                         ■   NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:
                    ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                        annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                        Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                        provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                        increases by more than 3% over the previous year’s income. [Miami cases]
IX.         NON-STANDARD PLAN PROVISIONS                         ■    NONE


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                               Debtor                                                                Joint Debtor
  Paola Angulo                                                       Date                                                                  Date



  s/ Samir Masri                                     September 22, 2023
                                                               Date
     Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
      the contents of the plan have been
        reviewed and approved by the
                 Debtor(s).1

   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph IX.




________________________
1This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.

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